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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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 In re:                                                                 :       Chapter 11
                                                                        :
 WICKAPOGUE 1 LLC,                                                      :       Case No. 8-23-71048-reg
                                                                        :
                                                                        :
                                      Debtor                            :
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       APPLICATION FOR AUTHORIZATION TO RETAIN OFFIT KURMAN, P.A. AS
               COUNSEL TO DEBTOR AND DEBTOR-IN-POSSESSION,
                       EFFECTIVE AS OF PETITION DATE


 TO:      THE HONORABLE ROBERT E. GROSSMAN
          UNITED STATES BANKRUPTCY JUDGE


          Wickapogue 1 LLC, the above-captioned debtor and debtor-in-possession (the “Debtor”),

 by its counsel, Offit Kurman, P.A., hereby submits this application (the “Application”), in support

 of an Order, pursuant to §327 of title 11 of the United States Code (the “Bankruptcy Code”) and

 Rule 2014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rule(s)”), granting the

 Debtor authority to retain Offit Kurman, P.A. (the “Firm”) as its counsel, effective as of the

 petition date, and respectfully represent as follows:




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                                  JURISDICTION AND VENUE

       1.       This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§157 and

1334. Consideration of the Application is a core proceeding pursuant to 28 U.S.C. §157(b). The

statutory predicates for the relief sought herein are §327(a) of the Bankruptcy Code and Bankruptcy

Rule 2014. Venue is proper before this Court pursuant to 28 U.S.C. §1409.

                                          BACKGROUND

       2.       On March 28, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of the Bankruptcy Code, and thereafter, continues to operate its business and

manage its property as a debtor-in-possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

As of the date hereof, no trustee, examiner, or official committee of unsecured creditors has been

appointed in this Chapter 11 case.

       3.       The Debtor’s primary asset is improved, residential real property located at 145

Wickapogue Rd, Southampton, Suffolk County, New York (the “Property”).

       4.       The Debtor’s bankruptcy filing was precipitated by Debtor’s default on a loan in the

aggregate principal amount of $5,750,000, consisting of a building loan in the amount $2,500,000

and a loan for the purchase of land in the amount of $3,250,000 to enable the Debtor to acquire the

underlying land and construct the Property thereon, a 10,000 square-foot residence, for future sale.

Additional information regarding the Debtor, as well as the events precipitating the commencement

of the Chapter 11 case, is set forth in the Declaration of David Goldwasser as Chief Restructuring

Officer of the Debtor.

       5.       The Debtor filed this chapter 11 case to facilitate a sale of the Property free and clear

of certain judgments and liens, under a plan of liquidation, and to distribute net proceeds to creditors

in the order of their respective priorities. The Debtor believes that the chapter 11 process provides

the most efficient means to unlock the value of the Property for the benefit of its creditors.


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       6.       The Debtor believes that the Firm has significant experience in bankruptcy and

distressed real estate matters and is therefore well qualified to represent it in this case in a cost-

effective, efficient and timely manner. Subject to the control and further order of this Court, the

professional services that the Firm will render to the Debtor includes, but shall not be limited to, the

following:

             a. advising the Debtor with respect to its powers and duties as a debtor-in-possession
                in the management of its estate;

             b. assisting in any amendments of Schedules and other financial disclosures and in the
                preparation/review/amendment of a disclosure statement and plan of
                reorganization;

             c. negotiating, drafting, and pursuing all documentation necessary in this Chapter 11
                case, including, without limitation, any debtor-in-possession financing
                arrangements and the disposition of the Debtor’s assets, by sale or otherwise and
                taking the necessary legal steps to confirm and consummate a plan of
                reorganization;

             d. preparing on behalf of the Debtor all necessary motions, applications, answers,
                proposed orders, reports and other papers to be filed by the Debtor in this case;

             e. appearing in Court and protecting the interests of the Debtor and the estate before
                the Court;

             f. taking all necessary actions to protect and preserve the Debtor’s estate, including
                prosecuting actions on the Debtor’s behalf, defending any action commenced
                against the Debtor, and representing the Debtor in negotiations concerning
                litigation in which the Debtor is involved, including objections to claims filed
                against the Debtor’s estate; and

             g. performing all other legal services for the Debtor that may be necessary and proper
                for an effective reorganization.

       7.       After due deliberation, the Debtor has determined that its interests and the interests

of its creditors would best be served by the retention of the Firm as counsel to the Debtor to render

such legal services as may be necessary and appropriate in connection with this Chapter 11 case. The

Debtor submits that the Firm possesses extensive knowledge and expertise in the areas of law relevant

to its bankruptcy case, and that the Firm is well qualified to represent the Debtor in this proceeding.

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       8.        Except as set forth in the annexed declaration of Jason Nagi (the “Nagi

Declaration”), the Firm is not connected with the Debtor, its creditors, other parties- in-interest or the

Office of the United States Trustee.

       9.        Further, as set forth in the Nagi Declaration, the Firm does not, by way of any direct

or indirect relationship to, connection with or interest in the Debtor, hold or represent an interest

adverse to the estate and is a disinterested person. Accordingly, the Debtor believes that the Firm is a

“disinterested party” within the meaning of §§101(14) and 327 of the Bankruptcy Code.

       10.       Because the full extent and nature of the legal services to be rendered are unknown at

this time, the Debtor believes that the employment of the Firm is appropriate and in the best interests

of the Debtor, its estate, creditors and equity holders. the Firm has indicated its willingness and desire

to serve as counsel to the Debtor, as set forth above, and to render the legal services necessary as

attorneys for the Debtor.

       11.       The Firm has agreed to make appropriate applications to this Court for compensation

and reimbursement of expenses as required by the Bankruptcy Code, the Bankruptcy Rules, the Local

Rules of the United States Bankruptcy Court for the Eastern District of New York (the “Local Rules”)

and the Guidelines for Fees and Disbursements for Professionals propounded by the Office of the

United States Trustee. T he Firm is willing to be retained by the Debtor as its counsel and will bill

at the following hourly rates, which are $605.00 per hour for Jason Nagi, $585.00 per hour for Joyce

Kuhns, $560.00 per hour for Albena Petrakov, $350.00 - $430.00 per hour for associates, and $165.00

- $195.00 per hour for paraprofessionals. These rates may be subject to adjustment from time to time.

the Firm will also be entitled to seek reimbursement for all out-of-pocket disbursements. On March 22,

2023, the Firm received $50,000.00 as an initial retainer fee from the Debtor, of which $10,057.00

were expended on bankruptcy preparation prior to the Petition Date.

       12.       The Firm has explained to the Debtor that the hourly rates set forth above are (a) set


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at a level designed to fairly compensate the Firm for its work and to cover fixed and routine overhead

expenses, (b) standard for work of this nature inside or outside bankruptcy and (c) remain subject to

periodic, firm-wide adjustments in the ordinary course of the Firm’s business.

       13.      The Firm requests that the retention be effective as of the Petition Date, March 28,

2023, as the firm has been rendering services to the Debtor since the filing.

                                           CONCLUSION
       14.      Based upon the foregoing, the Debtor respectfully requests that the Application be

granted in its entirety and that the Debtor be granted such other and further relief as this Court may

deem just and proper. A proposed Order authorizing the retention of Offit Kurman as requested herein

is annexed hereto.

       15.      Notice of this Application was given to the United States Trustee.

       WHEREFORE, the Debtor respectfully requests that an Order be entered authorizing them

to retain Offit Kurman as their counsel in these proceedings, effective as of March 28, 2023, and

granting such other and further relief as the Court deems just and proper.


Dated: New York, New York
       March 30, 2023
                                              Respectfully Submitted,


                                              WICKAPOGUE 1 LLC


                                               By: David Goldwasser
                                                   Chief Restructuring Officer




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